      Case 4:21-cv-00322-SHR Document 19 Filed 12/08/21 Page 1 of 2



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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   David Smith,                                      No. CV-21-00322-TUC-SHR
10                  Plaintiff,                         Order Re: Request for Record on
                                                       Appeal
11   v.
12   Edna Lara, et al.,
13                  Defendants.
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16          Plaintiff David Smith has filed a Request for Record on Appeal (Doc. 18), in which
17   he requests that the Clerk of Court “forward him a copy of the entire district court record,
18   including the original complaint, the motion to allow duplicative claim and attached
19   exhibits, all court orders, and all other filings on the docket as required by Ninth Circuit
20   Rule 30-3.” Plaintiff cites Ninth Circuit Rule 30-3 to say the District Court Clerk “upon
21   request, shall forward a copy of the Record on Appeal to the incarcerated, pro se Plaintiff
22   within 21 days of the request.” (Id.) Plaintiff’s Request is dated October 29, 2021 but was
23   not received and docketed until November 4, 2021. (Id.)
24          On October 29, 2021, the Ninth Circuit referred Plaintiff’s appeal to this Court “for
25   the limited purpose of determining whether in forma pauperis status should continue for
26   this appeal or whether the appeal is frivolous or taken in bad faith.” (Doc. 15.) On
27   November 1, 2021, this Court determined Plaintiff’s appeal was frivolous and not taken in
28   good faith, and revoked Plaintiff’s in forma pauperis status. (Doc. 16.) Plaintiff’s
       Case 4:21-cv-00322-SHR Document 19 Filed 12/08/21 Page 2 of 2



 1   application to proceed in forma pauperis on appeal is pending before the Ninth Circuit. See
 2   No. 21-16818, Doc. 10. Therefore, at this stage, Plaintiff is not entitled to the district court
 3   record on appeal at no charge. See Ninth Circuit Rule 30-3 (“If the prisoner was granted
 4   leave to proceed in forma pauperis at the district court or on appeal, the copies will be
 5   produced at no charge to the prisoner.”). Plaintiff may obtain the record for his appeal by
 6   sending a letter addressed to the Clerk of Court stating which documents he requests. The
 7   Clerk will then send Plaintiff an invoice for the amount and, once payment is received, the
 8   Clerk will mail the requested documents to Plaintiff.
 9          Accordingly,
10          IT IS ORDERED Plaintiff’s Request for Record on Appeal (Doc. 18) is DENIED.
11          Dated this 7th day of December, 2021.
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